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IN THE U'NITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN'NESSEE
WESTERN DIVISION

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(.'j._) f.-;L; y

 

 

ANTOINETTE CORU'M'
Plaintiff,
No. 04-2817 Ma/A

'V.

RODERICK PAIGE, United States
Secretary of Education,

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Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO DISMISS

 

This action arises from the alleged overpayment of student

loans. Before the court is Defendant's motion to dismiss, filed
November 12, 2004. Plaintiff Antoinette Corum responded on
December 28, 2004. For the following reasons, the U©tion is
GRANTED .

I. Background

The following facts are undisputed, unless otherwise noted.
In the fall of 1987, Plaintiff received student loans through the
United Stated Department of Education (“Education”). Plaintiff was
to begin repaying the loans in July, 1988. Plaintiff claims that,
in 1990, she paid the outstanding balance on the loans in full and,
in fact, paid Education more than she owed. She alleges that three

checks were written in payment of her loans in an amount greater

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than the outstanding balance.l Afterward, she continued to receive
bills and was repeatedly contacted by collection agents. Plaintiff
alleges that every time she sent Education proof that she had paid
off her loans, it sent her name to a collection agency.

Education asserts that Plaintiff has yet to pay the full
amount of her loans. ln 1995, $220 was withheld from Plaintiff's
federal tax refund through the Treasury Offset Program, in which
federal agencies attempt to collect delinquent debts by withholding
federal benefits. Plaintiff claims that she has already paid more
than she legally owes on the loans. She seeks the amount of the
alleged overpayment, $1,861.45, plus interest and punitive damages.
II. Jurisdiction

Plaintiff brings this action under the Higher Education Act,
20 U.S.C. § 1070 §§ §§gg, which allows the Secretary of Education
to “be sued in any ... district court of the United States
without regard to the amount in controversy....” ld; § 1082(a)(2).
The statute states further that “action instituted under this
subsection by or against the Secretary shall survive
notwithstanding any change in the person occupying the office of
Secretary or any vacancy in that office.” ld; Thus, the action is
not mooted because Margaret Spellings has replaced Roderick Paige

as Secretary of Education. The court will refer to Spellings,

 

l It is unclear how Plaintiff arrived at $1,861.45 as the amount of her
alleged overpayment. The three checks, copies of which are attached to the
complaint, total $5,980. All of the checks are dated 1990. The record shows
no further payments to Education.

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rather than Paige, as the defendant in this action.
III. Analysis

The United States argues, on Spellings's behalf, that
Plaintiff's claims are barred by 28 U.S.C. § 2401(a), which
requires suits against the United States to be commenced within six
years of the accrual of the plaintiff’s cause of action. When a
federal official is sued in her official capacity, the suit is
considered an action against the United States, and 28 U.S.C. §
2401 applies. See Kentucky v. Graham, 473 U.S. 159, 165-66 (1985);
Brandon v. Holt, 469 U.S. 464, 471-72 (1985); Urabazo v. U.S., 947
F.2d 955 (lOth Cir. 1991). The statute giving rise to Plaintiff's
cause of action, which allows an action to survive without regard
to the individual holding the office of Secretary of Education,
indicates that this is an official-capacity suit.

“A suit against the sovereign is one where the judgment sought
would expend the public treasury, restrain the government from
acting, or compel it to act.” Coleman v. Espy, 986 F.2d 1184, 1189
(8th Cir. 1993). Plaintiff, like the plaintiff in Coleman, seeks
the “return of property and actual government expenditures for
compensatory damages.” ;d; In addition, her complaint alleges
various actions taken by agents of Education in processing and
collecting her loans and states that she is “tired of the US Dept.
of Ed. messing with [her] life.” Thus, this action is essentially

a suit against the United States government.

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The complaint does not, however, explicitly designate whether
Spellings is being sued. in. her individual capacity' or in. her
official capacity as Secretary of Education. When a complaint
contains no such designation, a court will determine from “the
course of proceedings” whether the defendant is being sued in an
official or individual capacity. Kentucky v. Graham, 473 U.S. at
167 n.14; Moore v. City of Harriman, 272 F.3d 769, 772 (6th Cir.
2001). The factors to be considered. are “the nature of the
plaintiff’s claims, requests for compensatory or punitive damages,
and the nature of any defenses raised in response to the complaint,
particularly claims for qualified immunity.”2 MQQ;§, 272 F.Bd at
772 rl.l.

There is little indication from the complaint or the course of
proceedings that this action is against Spellings in her individual
capacity. Plaintiff’s claims arise from the actions of various
officials affiliated with Education dn processing and collecting
her student loans. Thus, any claims against Spellings appear to be
based solely on her conduct (or that of her predecessor in office)
in the capacity of Secretary of Education. Further, the complaint

lists Spellings's3 name and official title and otherwise remains

 

2 These standards govern actions against government officials under 42
U. S. C. § 1983. Similar considerations are relevant in this case, and the
court can locate no decisions on this issue under the Higher Education Act, as
all suits by borrowers appear to have been against the Secretary of Education
in her official capacity.

3 The complaint actually lists former Secretary of Education Roderick
Paige as the defendant.

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silent about whether suit is being brought in an individual or
official capacity. See Rodgers v. Banks, 344 F.Bd 587, 594 (6th
Cir. 2003). Although Plaintiff’s amended complaint seeks $2.5
million in punitive damages, providing some notice that she seeks
to hold Spellings personally liable, this fact is not dispositive
when other factors indicate an official~capacity suit. ld;
Spellings has not moved for summary judgment on immunity grounds,
another indication that the complaint does not put Spellings on
notice that she is being sued in an individual capacity. ldg;
MQQ;§, 272 F.3d at 772 n.1.

Because Plaintiff's suit is against Spellings in her official
capacity as United States Secretary of Education, the United States
is the actual defendant, and the general statute of limitations
contained in 28 U.S.C. § 2401{a) applies. This six-year
limitations period generally governs all civil actions against the
United States. See U.S. v. Mottaz, 476 U.S. 834, 844-45 (1986).
Because the ability to file suit against the United States exists
only because of the government's voluntary waiver of sovereign
immunity, “a failure to file such within the statutory period of
limitations divests a district court of its subject matter
jurisdiction.” Wojton V. U.S., 199 F`. Supp. 2d 722, 726 (N.D.
ohio)(citing u.s. v. xubrick, 444 U.s. 111, 117-13 (1979)).
Although Congress has expressly abrogated the statute of

limitations applicable to the right of action under the Higher

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Education Act of the government and affiliated institutions to seek
recovery of outstanding loans from borrowers, no such provision was
extended to borrowers' rights against the United States. gee 20
U.S.C. § 1091a. This absence indicates an intent that actions
against the United States remain confined to the applicable
limitations period.

Plaintiff alleges that she overpaid her loans in 1990. The
three checks she cites are dated 1990, and she alleges no further
payments to Education. She does not allege, nor does the record
indicate, that she reasonably failed to become aware of the
overpayment until some later date. Thus, her cause of action for
overpayment accrued in 1990. At the latest, Plaintiff’s cause of
action arising from payment or overpayment of loan funds accrued in
1995, when the Internal Revenue Service withheld $220 from her
federal tax refund in payment of alleged outstanding loan debt. In
1995, Plaintiff knew or should have known that Education had not
extinguished her debt. Because this action was not commenced until
August 16, 2004, it is barred by 28 U.S.C. § 240l{a).

IV. Conolusion

For the foregoing reasons, the motion to dismiss is GRANTED.

so oRDERsD this “J<day of May 2005.

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SAMUEL H. MAYS, JR
U'NITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

